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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of  )
herself and others similarly situated,  )
                                        )           Civil No. 17-CV-
                       Plaintiffs,      )
                                        )           Declaration of
 v.                                     )
                                        )
ERIC D. HARGAN, et al.,                 )
                                        )
                       Defendants.      )
                                        )

      I,                                , do hereby depose and state as follows:

   1. I submit this declaration in support of Plaintiffs’ motion for a temporary restraining order.

   2. I came to the United States from my home country without my parents.

   3. I am 17 years old.

   4. I was detained upon arrival, and am currently in a shelter in Texas.

   5. I am pregnant. I have decided to have an abortion.

   6. I have sought and obtained a judicial bypass of Texas’s parent consent law.

   7. Both an attorney ad litem and a guardian ad litem were appointed to assist me in the

      judicial bypass. They both speak Spanish and have explained what is happening to me

      and my legal rights.

   8. This declaration has been translated for me by my ad litems so that I know its contents

      and it states the truth.

   9. I have had several appointment scheduled with a licensed health care facility in Texas for

      an examination by a licensed physician who specializes in obstetrics and gynecology, and

      to obtain options counseling, including on September 28 and October 6, 2018.




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10. I had an appointment scheduled for the abortion on September 29 and October 7, 2017.

11. I have been told my ad litems that Defendants prohibited me from traveling to the health

   care center for the examination, counseling, and abortion.

12. I am hopeful to obtain an abortion as soon as possible. I understand the next counseling

   appointment should have been October 12, with the abortion appointment on October 13.

   However, because I keep being delayed, the only appointments available to me are on

   October 18 and 19, 2017.

13. Defendants have forced me to obtain counseling from a religiously affiliated crisis

   pregnancy center where I was forced to look at the sonogram.

14. Defendants have been talking to me about my pregnancy – I feel like they are trying to

   coerce me to carry my pregnancy to term.

15. Defendants told my mother about my pregnancy and are trying to force me to tell her as

   well.

16. I do not want to be forced to carry a pregnancy to term against my will.

17. I do not want to proceed in court using my real name because I fear retaliation because I

   am seeking an abortion. I do not want my family to know that I am seeking an abortion.

18. I agree to be a class representative for similarly situated individuals.



   I declare under penalty of perjury that the foregoing is true and correct.

   Dated: October 11, 2017




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